            Case 5:21-cv-00679-R Document 22 Filed 06/22/22 Page 1 of 8




                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

XUEHONG SHARON GOU,         )
    Plaintiff,              )
                            )
vs.                         )                     Case No. CIV-21-679-R
                            )
THE BOARD OF REGENTS OF     )
THE UNIVERSITY OF OKLAHOMA, )
     Defendant.             )

                                 PROTECTIVE ORDER

       Pursuant to the Joint Application for Agreed Protective Order filed by the parties

and for good cause shown, this Court enters the following Protective Order governing

confidential and private material obtained and exchanged in this case.

       1.     The following, if obtained during the course of this litigation, are deemed

private and confidential and subject to this Order:

              A.      Medical, psychological, counseling records, and marital records

       related to any persons, and the information contained in such records.

              B.      Tax returns, pay records, loan applications, financial statements, and

       W-2 forms related to the Plaintiff or any other persons, and non-public financial

       records of the Defendant.

              C.      Any documents showing salary, payroll, tax, insurance, beneficiary

       designations, retirement, or any other type of compensation or benefits related to

       any persons.

              D.      For non-parties, performance appraisals, performance improvement

       plans, and disciplinary records.

                                             1
   Case 5:21-cv-00679-R Document 22 Filed 06/22/22 Page 2 of 8




       E.          Social security numbers and dates of birth of any persons shall be

held confidential; provided, however, that month and year of birth and last four

digits of a social security number shall not be confidential.

       F.          The names of minor children or incompetent persons shall be

confidential; provided, however, such persons may be identified by initials.

       G.          Unlisted home addresses and unlisted home phone numbers and cell

phone numbers shall be confidential; provided, however, the last four digits of a

phone number shall not be confidential.

       H.          Educational records of any persons to the extent such records are

covered by 20 U.S.C. § 1232g.

       I.          Confidential records of the Defendant as identified in the Oklahoma

Open Records Act, 51 OKLA. STAT. § 24A.7:

              i.         Records related to internal personnel investigations;

             ii.         Employee      evaluations,   payroll    deductions,     payroll

       applications, transcripts from institutions of higher education; and

            iii.         Home addresses, telephone numbers, and social security

       numbers of any persons employed or formerly employed by the Defendant.

       J.          Proprietary commercial information that is copyrighted, constitutes

trade secrets, or otherwise warrants confidential protection.




                                         2
            Case 5:21-cv-00679-R Document 22 Filed 06/22/22 Page 3 of 8




       2.     The confidential materials described above shall remain confidential and,

absent permission by the Court, shall be used only for the purpose of preparation and

presentation of this case as permitted in this Order.

       3.     Other than tax returns, non-public financial information, education records,

marital records, medical, psychological and counseling records, and proprietary

commercial information to be handled in accordance with Section 4 below, confidential

materials may be disclosed to:

              A.     The parties;

              B.     The attorneys for the parties and the attorneys’ staff;

              C.     The Court, the Court’s staff, and the staff of the Court Clerk;

              D.     Any witness during the course of depositions;

              E.     Any court reporter or videographer;

              F.     Any person who is or reasonably may be expected to be a witness in

       this action; and

              G.     Any person who reasonably would need to see such materials in order

       to give testimony or information related to the case, to form opinions, or to serve

       as a consultant with regard to issues in this action.

       4.     In the case of tax returns, grad transcripts, marital records, medical,

psychological and counseling records, and proprietary commercial information, these

confidential records and the contents (including summaries, excerpts, and extracts) thereof

may be disclosed only to the following persons without leave of court:



                                              3
           Case 5:21-cv-00679-R Document 22 Filed 06/22/22 Page 4 of 8




             A.     The Court, the Court Clerk, court reporters, and staff of those entities;

             B.     Counsel for the parties;

             C.     Expert witnesses or consultants who are qualified to evaluate such

      records;

             D.     The person who is the subject of the records or the guardian of such

      person;

             E.     Defendant’s corporate representative(s) designated pursuant to

      Fed.R.Civ.P. 30(b)(6); and

             F.     Employees of the Defendant who have previously reviewed such

      records as an authorized recipient or member of management.

             This Order shall not preclude either counsel from communicating a general

      assessment or analysis of the impact of the records or their contents or an

      assessment or analysis by their expert witness(es) to the clients or insurance

      representatives for purposes of settlement discussion or case preparation.

             In the case of disclosure of confidential records pursuant to Section 4(C),

      4(D), 4(E) and 4(F), before disclosure the recipient must agree to maintain such

      records as confidential as provided in this Order.

      5.     In order to comply with HIPAA requirements and particularly 45 C.F.R.

§ 164.512(e)(1)(v)(A), (B), a party receiving medical records must:




                                            4
            Case 5:21-cv-00679-R Document 22 Filed 06/22/22 Page 5 of 8




              A.     Not use or disclose the protected health information for any purpose

       other than the litigation or proceeding for which such information was requested;

       and

              B.     Must return such information to either the entity from which it was

       received or the attorney of the party to whom it pertains, or destroy the protected

       health information (including all copies made), which actions must be taken at the

       end of the litigation or proceeding.

       6.     In the case of disclosure of records or confidential information to persons

who are potential witnesses as described in paragraph 3(F) or (G), the disclosing party

may not provide the potential witness with a copy of any confidential document but may

show such document or orally share said records or confidential information. Such persons

must be advised that said information is subject to this Protective Order and that such

Order applies to them. Such persons must be advised that they must maintain said

information as confidential.

       7.     All confidential records subject to this Order need not be filed under seal or

otherwise presented under seal. Confidential personnel records of third parties may be

filed provided that the names of the third parties and identifying information (except for

initials or similar designations) are redacted. Medical, counseling or psychological

records, marital records, grade transcripts, non-public financial records, proprietary

commercial information, and tax returns shall be sealed along with the portions of any

transcripts of testimony, reports, or other documents which would disclose information

contained in such records. The parties will comply with procedures set forth in the

                                              5
             Case 5:21-cv-00679-R Document 22 Filed 06/22/22 Page 6 of 8




Electronic Filing Policy and Procedures Manual § III(A) for filing under seal confidential

documents which are subject to this Protective Order. In lieu of filing under seal and where

practicable, parties will be allowed to redact the restricted portions of the information from

documents filed with the Court unless that confidential information is material to the issue

being presented.

       8.      The party or non-party who owns the confidential information may waive

the confidentiality of all or part of any otherwise confidential information or waive the

requirement that any portion of information be filed under seal; provided, however, such

waiver will not be implied but must be made expressly in writing by the party or non-party

who owns the confidential information.

       9.      Information that is confidential shall be marked CONFIDENTIAL except

that medical and counseling records, tax returns of individuals, and education records are

confidential without further designation. The parties shall designate portions of

depositions as confidential if they contain information designated as confidential by this

Order. Such designation shall be made in writing within fifteen (15) days of the transmittal

of the deposition transcript or within fifteen (15) days of a party’s discovery of the

confidential portion if such discovery occurs at a later date.

       10.     Any party receiving information or a designation of deposition testimony

marked as confidential may dispute the designation of confidentiality by sending a written

statement to the designating party and/or owner of the confidential information if different

from the designating party. The written statement must identify what documents or

testimony is disputed as confidential, and it must be sent within fifteen (15) days of the

                                              6
             Case 5:21-cv-00679-R Document 22 Filed 06/22/22 Page 7 of 8




receipt of the designation of confidentiality. Thereafter, the party making the designation

of confidentiality has the duty to meet and confer and, if no agreement can be reached, to

file a motion asking for a determination of the confidential nature of the information which

must be filed within thirty (30) days of the date when the objection to confidentiality is

received. If no application is made, the material will cease to be confidential under this

Order. If application is made, the material must be treated as confidential pursuant to this

Order until the Court determines the matter.

       11.     Control and distribution of the information and documents subject to this

Order shall be the responsibility of the attorneys of record. The attorneys of record shall

take all reasonable steps to limit access to confidential material to only those authorized

in this Order and to ensure that those persons receiving confidential material do not use or

disclose the material for any purpose other than those permitted in this Order.

       12.     Claims of privilege or inadvertent disclosure of privileged material shall be

controlled by the provisions of Rule 26. If material deemed confidential pursuant to this

Order is disclosed to anyone other than in the manner authorized herein, the party

responsible for the disclosure must immediately bring all pertinent facts relating to such

disclosure to the attention of all parties and non-parties, where applicable, and shall make

every effort to prevent further disclosure by any person who was a recipient of such

confidential information.

       13.     This Order shall remain in force, including after the conclusion of the

litigation, unless and until it is modified by this Court.




                                               7
             Case 5:21-cv-00679-R Document 22 Filed 06/22/22 Page 8 of 8




       14.     The entry of this Protective Order does not constitute a determination that

any materials designated as confidential are either relevant, admissible, or subject to being

produced during discovery. Each party retains the right to make substantive objections to

discovery requests other than those based on privacy or confidentiality.

       15.     This Order shall not affect or limit the presentation of evidence, including

materials marked as confidential, during the trial of this action.

       16.     At the conclusion of the litigation—which includes completion of all

appeals, matters on remand, or the expiration of time for appeals—counsel shall, if

requested, return tax records, medical or counseling records, marital records, educational

records, and proprietary commercial information. The balance of any other confidential

records shall be returned or destroyed at counsel’s option after the passage of five years.

The parties agree that they will not charge each other for document production. It is in all

instances the responsibility of the party seeking the return of documents to make a formal

request for return and to set out the proposed manner of return.

      IT IS SO ORDERED this 22nd day of June 2022.




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